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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Hualapai Indian Tribe,                         No. CV-24-08154-PCT-DJH
10                 Plaintiff,                       ORDER
11   v.
12   Debra Haaland, et al.,
13                 Defendants.
14
15          Before the Court is an unopposed Motion to Withdraw (Doc. 91) filed by
16   Intervenor Defendant Arizona Lithium Limited, and an unopposed Consent Motion to
17   Stay Defendants’ Deadlines to Respond to the Amended Complaint (Doc. 90).
18          For good cause showing,
19          IT IS ORDERED granting Arizona Lithium Limited’s Motion to Withdraw as
20   Intervenor Defendant (Doc. 91). The Clerk of Court is kindly directed to terminate
21   Arizona Lithium Limited as an Intervenor Defendant in this matter.
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 1          IT IS FURTHER ORDERED granting the unopposed Consent Motion to Stay
 2   Defendants’ Deadlines to Respond to the Amended Complaint (Doc. 90). The Federal
 3   Defendants’ deadline to respond to the Amended Complaint is temporarily stayed and
 4   the Rule 16 Scheduling Conference set for April 8, 2025 (Doc. 84) is vacated. The
 5   parties shall file a status report regarding appropriate next steps in this case by no later
 6   than May 9, 2025.
 7          Dated this 3rd day of March, 2025.
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10                                                 Honorable Diane J. Humetewa
11                                                 United States District Judge

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